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UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF DELAWARE
x
In re Chapter 11
TK HOLDINGS INC., et al., Case No. 17-11375 (BLS)
Debtors.’ (Jointly Administered)

Re: Docket No. 2511
x

 

ORDER PURSUANT TO 11 U.S.C. § 105 AND FED. R.
BANKR. P. 6004, 9019, AND 9024 (I) AUTHORIZING AND APPROVING
CERTAIN SETTLEMENTS AND (Il) VACATING THE DISCHARGE OPINION

Upon the motion, dated March 27, 2018 (the “Motion”, of TK Holdings Inc. and
its affiliated debtors, as debtors and debtors in possession (collectively, the “Debtors”), seeking
entry of an order pursuant to section 105(a) of title 11 of the United States Code
(the “Bankruptcy Code”) and Rules 6004, 9019, and 9024 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules’):

a. authorizing and approving that certain Settlement Agreement
(the “State Settlement Agreement’) by and among TKH, Takata
Corporation (“TKJP” and, together with its direct and indirect
global subsidiaries, including TKH, “Takata’’), the State of
Hawai‘i, by its Office of Consumer Protection (“Hawai”), the
State of New Mexico, by its Attorney General (“New Mexico’),
and the Government of the United States Virgin Islands, by its
Attorney General (the “USVI” and, together with Hawai‘i and

New Mexico, each a “State” and, collectively, the “States” and,

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312); TK
Holdings Inc. (3416); Takata Protection Systems Inc. (3881); Interiors in Flight Inc. (4046); TK Mexico Inc. (8331);
TK Mexico LLC (9029); TK Holdings de Mexico, S. de R.L. de C.V. (N/A); Industrias Irvin de Mexico, S.A. de
C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except as
otherwise set forth herein, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter 11
cases. The location of the Debtors’ corporate headquarters is 2500 Takata Drive, Auburn Hills, Michigan 48326.

? Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such term in the
Motion, the State Settlement Agreement, the Puerto Rico Settlement Agreement, or the TKJP Settlement Term
Sheet, as applicable.

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together further with TKH and TKJP, each a “State Settlement
Party” and, collectively, the “State Settlement Parties’) attached
hereto as Schedule 1;

b. authorizing and approving that certain Settlement Agreement
(the “Puerto Rico Settlement Agreement’) by and among TKH
and the Commonwealth of Puerto Rico, by its Deputy Attorney
General (“Puerto Rico” and, together with TKH, each a “Puerto
Rico Settlement Party” and, collectively, the “Puerto Rico
Settlement Parties”) attached hereto as Schedule 2;

c. authorizing and approving that certain Settlement Term Sheet
(the “TKJP Settlement Term Sheet’) by and among the Debtors,
the Japan Debtors, the Tort Claimants’ Committee, the Future
Claims Representative, and the MDL Plaintiffs (each a “TKJP
Settlement Term Sheet Party” and, collectively, the “TKJP
Settlement Term Sheet Parties’) attached hereto as Schedule 3;
and

d. vacating the Discharge Opinion.

all as more fully set forth in the Motion; and this Court having jurisdiction to consider the
Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended
Standing Order of Reference from the United States District Court for the District of Delaware
dated February 29, 2012; and consideration of the Motion and the requested relief being a core
proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to
28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided to
the parties listed therein, and it appearing that no other or further notice need be provided; and
this Court having reviewed the Motion; and this Court having held a hearing on the Motion; and
this Court having determined that the legal and factual bases set forth in the Motion establish just
cause for the relief granted herein; and it appearing that the relief requested in the Motion is in
the best interests of the Debtors, their estates, creditors, and all parties in interests; and upon all
of the proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor,

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IT IS HEREBY ORDERED THAT:

1. The Motion is granted as set forth herein.

2. Pursuant to section 105(a) of the Bankruptcy and Code and Bankruptcy
Rule 9019, the State Settlement Agreement, the Puerto Rico Settlement Agreement, and the
TKJP Settlement Term Sheet are approved as set forth herein, and the Debtors are authorized to
enter into the State Settlement Agreement, the Puerto Rico Settlement Agreement, and the TKJP
Settlement Term Sheet and perform their obligations thereunder.

3. Subject to the effectiveness of the TKJP Settlement Term Sheet and full
execution and delivery of the Agreement Regarding the Release of Insurance Rights for
Overlapping Trust Claims (the form of which is attached as Exhibit 1 to the TKJP Settlement
Term Sheet), in accordance with the Plan and the Confirmation Order, each of the Japan Debtors
shall become Released Parties and Protected Parties under the Plan, and the Debtors are
authorized and directed to provide notice of such occurrence in the notice of the occurrence of
the Effective Date.

4. The request for vacatur of the Discharge Opinion is granted.

5. Within five (5) days of the Effective Date of the Plan, the States shall
withdraw with prejudice the Discharge Appeal and the Confirmation Appeal.

6. Within five (5) days of the Effective Date of the Plan, each of the States shall
withdraw with prejudice the State Petitions for Assessment in the Japan Proceedings.

7. Within five (5) days of the Effective Date of the Plan, each of the States shall
dismiss with prejudice all claims they have asserted against TKH, TKJP, and any related Takata

entities named as defendants in the State Actions.

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8. Within five (5) days of the Effective Date of the Plan, the MDL Plaintiffs
and the Tort Claimants’ Committee, including any of its members, shall withdraw with prejudice
any petitions for assessment that they filed in the Japan Proceedings.

9. Within five (5) days of the Effective Date of the Plan, the Debtors shall
withdraw with prejudice the Debtor Petitions for Assessment in the Japan Proceedings.

10. The TKJP Debtor Claims are deemed to have an Allowed balance of Zero
Dollars ($0).

11. The State Resolution Payment and the State Expense Payment are deemed
to be in full and final satisfaction of the State Claims and the State TKJP Claims.

12. | Payment of the Puerto Rico Expense Payment is deemed to be in full and
final satisfaction of the Puerto Rico Claim.

13. Payment of the TKJP 503(b)(9) Claim in accordance with the terms set
forth in the TKJP Settlement Term Sheet is deemed to be in full and final satisfaction of the
TKJP Debtor Claims.

14. The Debtors are authorized to take all steps necessary or appropriate to
carry out this Order.

15. The Debtors’ claims and noticing agent is authorized to update the official
claims register consistent with the terms of the State Settlement Agreement, the Puerto Rico
Settlement Agreement, and the TKJP Settlement Term Sheet.

16. The 14-day stay of an order authorizing the use, sale, or lease of property
under Bankruptcy Rule 6004(h) is hereby waived and the terms and conditions of this Order are

immediately effective and enforceable upon entry by the Court.

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17. This Court shall retain exclusive jurisdiction to hear and determine all
matters arising from or related to the implementation, interpretation, or enforcement of this

Order.

Dated: » 2018
Wiln\ington, Delaware \

THE RHONORABLEBRENDAN L. SHANNON
CHIbf UNITED STATES BANKRUPTCY JUDGE

 

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